
USCA1 Opinion

	










          September 23, 1996    [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

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        No. 96-1059



                                   ALFRED K. BROWN,

                                     Petitioner,

                                          v.

                              PAUL MURPHY, SUPT., OCCC,

                                     Respondent.

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                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                    [Hon. Richard G. Stearns, U.S. District Judge]
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                                        Before

                               Selya, Boudin and Stahl,
                                   Circuit Judges.
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            Alfred K. Brown on brief pro se.
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            Scott  Harshbarger,   Attorney  General,  and   Gail  M.  McKenna,
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        Assistant Attorney General, Criminal Bureau, on brief for appellee.


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                 Per  Curiam.   Petitioner  Alfred K.  Brown appeals  the
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            denial by the district court of his motion for habeas relief,

            pursuant to 28 U.S.C.   2254.  We affirm.1
                                                     1

                 Brown  first  claims that  he  received constitutionally

            ineffective  assistance of  counsel  in the  state trial  and

            appellate courts.   The  state contends that  the ineffective

            assistance  claim is  insulated  from  federal habeas  review

            because  the  state court  found  it  procedurally defaulted.

            Brown  responds in  turn that  the default should  be excused

            because it was caused  by ineffective assistance of appellate

            counsel.   The claim  of ineffective assistance  of appellate

            counsel  is  based  solely  on  counsel's  failure  to  argue

            ineffective assistance of trial  counsel.  Since the question

            of  whether cause  has been  shown is  inextricably entangled

            with  the merits, we find it easier to address directly those

            merits.

                 We  find the  claim of  ineffective assistance  of trial

            counsel to be without foundation, essentially for the reasons

            given by the district court.  We add only the following.

                 Insofar  as Brown's  claim  rests  on counsel's  alleged

            failure to  investigate adequately  the defense  of insanity,


                                
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               1The  "Antiterrorism  and Effective  Death Penalty  Act of
               1
            1996"  (Pub. L. 104-32) was signed into law while this appeal
            was pending.  We need not determine to  what extent the Act's
            amendments  govern  this  case  since, even  under  the  more
            expansive  scope of  review prior  to the  Act, Brown  is not
            entitled to relief.

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            the  record  indicates  no  such  deficiency.    We  note  in

            particular that the information provided in the affidavits of

            Drs. Yudowitz  and Profit  is essentially cumulative  of what

            was presented at trial.   Hence, the failure to  present such

            information does  not  constitute ineffective  assistance  of

            counsel.   See, e.g., United States v. Jackson, 935 F.2d 832,
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            846  (7th Cir. 1991) (counsel  not ineffective for failing to

            present cumulative evidence).  

                 Brown may be correct  in his claim that the  trial judge

            erred in informing the jury as to the sentencing consequences

            of the verdicts of first and second degree murder, other than

            that  of not guilty.  See Commonwealth v. Ferreira, 373 Mass.
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            116, 123-38, 364 N.E.2d 1264, 1269-72 (1977) (error to charge

            jury that verdict of  guilty of murder in first  degree would

            carry sentence of  life imprisonment without parole,  whereas

            verdict of guilty of murder in second degree would carry same

            sentence with  eligibility for parole  after fifteen  years).

            However, it  would have been  reasonable for counsel  to have

            made a "deliberate tactical  decision" not to object  to that

            charge based on the reasoning "that informing the jury of the

            sentencing   outcomes   associated  with   possible  verdicts

            improved his client's chances of avoiding a verdict of guilty

            of murder in the first degree."  Commonwealth v. Burnett, 371
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            Mass.  13, 16-17,  353 N.E.2d  665, 667  (1976).   A decision

            consistent with a reasonable  trial strategy cannot support a



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            claim of  ineffective assistance  of counsel.   Strickland v.
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            Washington,  466 U.S. 668, 689 (1984); Lema v. United States,
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            987 F.2d 48, 51 (1st Cir. 1993).

                 Finally, we agree  with finding of  the state trial  and

            appellate  courts that  the  record  indicates  that  Brown's

            statements to the  police on  the night of  the murders  were

            voluntary.

                 Affirmed.  See 1st Cir. Loc. R. 27.1.
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